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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 05-20859-CR-HUCK/O’SULLIVAN


  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  RAUL J. GUTIERREZ,

       Defendant.
  ________________________________/

                                           ORDER

            THIS MATTER comes before the Court on the United States’s Motion to Strike

  Petition of Maritime Life (Caribbean) Ltd. for Lack of Standing (DE# 735, 5/21/10).

  Having reviewed the applicable filings and the law and having held a hearing on July

  20, 2010, it is

            ORDERED AND ADJUDGED that the United States’s Motion to Strike Petition of

  Maritime Life (Caribbean) Ltd. for Lack of Standing (DE# 735, 5/21/10) is DENIED

  without prejudice to renew once discovery has been completed. It is further

            ORDERED AND ADJUDGED that the parties shall meet and confer on or before

  Tuesday, July 27, 2010 to exchange documents and make disclosures pursuant to

  Local Rule 26.1. The parties shall identify the depositions that need to take place and

  what documents should be produced. It is further

            ORDERED AND ADJUDGED that the parties are permitted to conduct discovery

  on the issue of standing until and including Wednesday, November 17, 2010. It is

  further
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         ORDERED AND ADJUDGED that the petitioner shall file a memorandum of law

  on the standing issue on or before Friday, December 10, 2010. Any response shall be

  filed in accordance with the Local Rules for the Southern District of Florida. It is further

         ORDERED AND ADJUDGED that the parties shall abide by the Court’s

  Discovery Procedure (see attached Discovery Procedures).

         DONE AND ORDERED, in Chambers, at Miami, Florida, this 20th day of

  July, 2010.




                                             JOHN J. O’SULLIVAN
                                             UNITED STATES MAGISTRATE JUDGE


  Copies furnished to:
  United States District Judge Huck
  All Counsel of Record
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           DISCOVERY PROCEDURE FOR
                       MAGISTRATE JUDGE JOHN J. O'SULLIVAN

          The following discovery procedures apply to cases assigned to United States
  District Judge Paul C. Huck.

         If parties are unable to resolve their discovery disputes without Court
  intervention, Magistrate Judge John J. O'Sullivan will set the matter for a hearing.
  Discovery disputes are generally set for hearings on Tuesdays and Thursdays in the 5th
  Floor Courtroom, United States Courthouse, 301 N. Miami Avenue, Miami, Florida.

         If a discovery dispute arises, the moving party must seek relief within fifteen (15)
  days after the occurrence of the grounds for relief, by contacting Magistrate Judge
  O'Sullivan’s Chambers and placing the matter on the next available discovery calendar.
  Magistrate Judge O'Sullivan’s telephone number is (305) 523-5920.

          After a matter is placed on the discovery calendar, the movant shall provide
  notice to all relevant parties by filing a Notice of Hearing. The Notice of Hearing shall
  briefly specify the substance of the discovery matter to be heard and include a
  certification that the parties have complied with the pre-filing conference required by
  Southern District of Florida Local Rule 7.1(a)(3). Generally, no more than ten (10)
  minutes per side will be permitted.

         No written discovery motions, including motions to compel and motions for
  protective order, shall be filed unless the parties are unable to resolve their disputes at
  the motion calendar, or unless requested by Magistrate Judge O'Sullivan. It is the
  intent of this procedure to minimize the necessity of motions.

          The Court expects all parties to act courteously and professionally in the
  resolution of their discovery disputes and to confer in an attempt to resolve the
  discovery issue prior to setting the hearing. The Court may impose sanctions,
  monetary or otherwise, if the Court determines discovery is being improperly sought or
  is not being provided in good faith.
